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UNITED STATES DISTRICT COURT W/_sb a
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Petition on Probation and Supervised Reiease

U.S.A. vs. Walter Williams

 

COMES NOW GERALD HUNT . PROBATION OFFICER OF THE COURT presenting an
ofEcial report upon the conduct and attitude of Walter Williarns , who was placed on supervision by the,
Honorable Bernice Donald sitting in the Court at Menr)his TN. , on the 21st day of May , 20 M who fixed
the period of supervision at two 121 years* , and irnposec the general terms and conditions theretofore adopted by
the Court and also imposed special conditions and terms as follows:

 

 

* On July 15, 2005, Supervised Release began in the Western District of Tennessee.

RESPECTFULLY PRESENT[NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(Ifdiort insert hcrc; if lengthy write on separate sheet and attach)

Based on his recent use of cocaine as determined by a positive drug screen, it appears Mr. Wi]]iams would benefit
from enrollment in a drug program Mr. Williams indicated his Willingness to participate in such program as
evidenced by his signature on the attached waiver.

PRAYING THAT THE COURT WILL ORDER the modification of the conditions of Mr. Wi]]iams’ Supervised
Release to require participation in drug treatment and testing as directed by the Probation OfIice.

 

 

 

ORDER OF COURT Respectfully,
Considered and ordergdAhis 9 Hay Q \SLAA..QQ \,‘Lw-&'/
of 20 LL, and ordered filed Gerald Hunt
an e a part of the records in the U. S. Probation Of.l:'lcer
above case. '
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{@/ M/ Place: Me;nphis, Tennessee
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Umted tates District Judge " \' Date: Augnst 4. 2005 l

 
  

Thls document entered on the docket shea
With Flule 55 and/or 32(b) FRCrP on

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PROB 49
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United States District Court

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Waivcr of Hearing to Modify Conditions
of Probation/S_upervised Release or Extend Term of Supervision

I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By “assistance of counsel,” I understand that I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel I also understand that I have the right to request the court to
appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to the following
_modification of my Conditions of Probation and Supervised Release or to the proposed extension of my term of
Supervision:

You shall participate in a program which may include inpatient
therapy for treatment of drug/alcohol dependency, including testing
to determine if you have reverted to the use of drugs/alcohol. You
shall also abstain from the use of drugs/alcohol during and after
the course of treatment.

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U.S. Probation Officer ' Probationer or Supervised Releasee

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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:03-CR-20236 Was distributed by faX, rnail, or direct printing on
August 11, 2005 to the parties listed.

 

Doris Holt-Randle

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Honorable Bernice Donald
US DISTRICT COURT

